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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                            Case No. 2:23-cr-20191-MSN

Emmitt Martin, III,

      Defendant.
______________________________________________________________________________

                                   ORDER
______________________________________________________________________________

       Before the Court is the Government’s oral Motion to release Defendant Emmitt Martin, III,

on his existing bond following his arrest for allegedly violating bond conditions. The Government

stated that Defendant is not a flight risk or threat to the community.

       The Motion is GRANTED. Defendant Martin shall be released on his existing bond for

his initial appearance before Magistrate Judge Claxton on February 21, 2025, at 1:30 PM.

       IT IS SO ORDERED, this 20th day of February, 2025.

                                                      s/ Mark S. Norris
                                                      MARK S. NORRIS
                                                      UNITED STATES DISTRICT JUDGE
